              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                              1:11 CR 36-5


UNITED STATES OF AMERICA,        )
                                 )
Vs.                              )                           ORDER
                                 )
BRITTNEY LYNN MOORE,             )
                                 )
              Defendant.         )
________________________________ )


      THIS MATTER came before the undersigned pursuant to a Motion for

Continued Release and Request for Detention Hearing (#238) filed by counsel for

Defendant.    At the call of this matter on for hearing, it appeared that the

Government had no objection to the continued release of Defendant and good cause

has been shown for the granting of the motion and the motion will be allowed.

                                       ORDER

      IT IS, THEREFORE, ORDERED that the Motion for Continued Release

and Request for Detention Hearing (#238) is ALLOWED and Defendant is released

on terms and conditions of pre-trial release that has previously been entered in this

matter.
                             Signed: August 11, 2016




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